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                UNITED STATES COURT OF INTERNATIONAL TRADE
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                                                 )
RISEN ENERGY CO., LTD.,                          )
                                                 )
                  Plaintiff,                     ) Consol. Court No.: 20-03912
                                                 )
            and                                  ) Before: Hon. Jane A. Restani,
                                                )          Senior Judge
JINGAO SOLAR CO., LTD., ET AL.                   )
                                                )
                  Consolidated Plaintiffs,       )
                                                )
            and                                  )
                                                )
SHANGHAI BYD CO., LTD., ET AL.,                 )
                                                )
                  Plaintiff-Intervenors,         )
                                                )
                  v.                            )
                                                )
UNITED STATES,                                   )
                                                )
                  Defendant.                     )
________________________________________________)

    PLAINTIFF-INTERVENOR TRINA’S COMMENTS ON FINAL RESULTS OF SECOND
                       REMAND REDETERMINATION

     Plaintiff-Intervenors, Trina Solar Co., Ltd., Trina Solar (Changzhou) Science & Technology Co.,

Ltd., Yancheng Trina Guoneng Photovoltaic Technology Co., Ltd., and Changzhou Trina Solar

Yabang Energy Co., Ltd. (hereinafter “Trina”), submit these comments in opposition to the second

remand results filed by the Department of Commerce (“Commerce”). See Final Results of

Redetermination Pursuant to Ct. Remand, Risen Energy Co., Ltd., et al. v. United States, Consol. Ct.

No. 20-03912, Slip Op. 23-48 (CIT April 11, 2023), ECF No. 116-1 (“Second Remand Results”).

     Trina concurs with and incorporates by reference the arguments made by mandatory

respondents JA Solar Technology Yangzhou Co., Ltd. (“JA Solar”) and Risen Energy Co., Ltd.

(“Risen”) in their comments on the second remand redetermination filed today with the Court.

Specifically, the court instructed Commerce to: (1) attempt to verify Risen’s submissions to the
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extent Commerce finds appropriate, and, if that is successful, it should either accept the pro rata

adjustment sought by Risen or conclude that the Export Buyer’s Credit Program (“EBCP”) was

not used at all, Risen Energy Co., Ltd. v. United States, 47 CIT __, __, Slip Op. 23-48 at *11 (Apr.

11, 2023) (“Second Remand Order”); (2) provide a compelling reason for its continued use of “the

stale 2010 CBRE report {to value land allegedly provided for less than adequate remuneration} or

otherwise use the Malaysian data only,” Second Remand Order at *14; and (3) supply a

convincing reason as to why the Descartes ocean freight data improves accuracy of the ocean

freight benchmark or exclude the Descartes data from the ocean freight benchmark altogether. Id.

at *18.

     In the Second Remand Results, Commerce: (1) continued to find that Risen used the EBCP

despite the submission of certifications of non-use by Risen’s U.S. customers and despite the fact

that a large share of Risen’s customers consented to verification of questionnaire responses

submitted with regard to the EBCP, Second Remand Results 5–7; (2) relied solely upon Thai land

prices from the 2010 CBRE report to value land acquired by the respondents for certain years and

relied upon a simple average of the Thai land prices from the 2010 CBRE report and the

Malaysian Land Prices data for land acquired by respondents in other years, id. at 10–11; and (3)

Commerce relied solely upon Xeneta ocean freight prices to value respondent’s ocean freight for

certain inputs alleged provided for less than adequate remuneration. Id. at 12.

     First, regarding Risen’s alleged use of the EBCP, Commerce declined to verify Risen’s

submissions regarding the EBCP because it found that it could not verify information regarding a

share of Risen’s U.S. sales for the period of review. Second Remand Results 7. Therefore,

Commerce declined to apply a pro rata adjustment or to find that Risen did not use the EBCP

because Commerce could not successfully verify Risen’s submissions. Id.



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     Second, with regard to its determination to continue to rely upon the Thai land prices from

the 2010 CBRE report, Commerce determined that it continued to be appropriate to rely upon this

data source where it found that record evidence indicates that the land prices are contemporaneous

with the year(s) of acquisition. Id. at 9. Commerce reasoned that the Thai land prices from the

2010 CBRE report “are not ‘stale’ and are, therefore, suitable for purposes of establishing

appropriate benchmarks for the respondents’ purchases of Chinese land-use rights in certain

years” based on its evaluation of the date of acquisition of each set of land-use rights, as reported

by each respondent. Id. Thus, Commerce found that it is appropriate to continue to rely on Thai

land prices from the 2010 CBRE as the sole benchmark for land-use rights for certain years where

it found the Thai data was more contemporaneous than the Malaysian land pricing data. Id. at 10.

Based on this rationale, Commerce relied solely on Thai land prices from the 2010 CBRE where it

viewed those prices to be more contemporaneous to the year of acquisition of the land-use rights

in question, and it relied on a simple average of Thai land prices and Malaysian land prices where

it determined that each source was equally contemporaneous to the year of acquisition of the land-

use rights in question. Id.

     Trina respectfully requests that the Court again remand Commerce’s Second Remand

Results with respect to its findings that it could not verify Risen’s non-use of the EBCP and the

land benchmark source for further reconsideration in the Second Remand Order. Plaintiffs Risen

and Consolidated Plaintiff JA Solar each present compelling arguments that Commerce’s Second

Remand Results are not supported by substantial evidence in each of their individual comments on

the Second Remand Results.

     To avoid needlessly expending the time and resources of the Court, Trina does not repeat

those arguments. Instead, Trina supports, incorporates, and adopts by reference all of Risen’s and

JA Solar’s arguments to the extent they argue that Commerce’s Second Remand Results continue

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not to be supported by substantial evidence and challenge the weighted-average CVD rates that

Risen and JA Solar, as mandatory respondents, were assigned by Commerce in the Remand

Results. Likewise, Trina requests that the weighted average CVD rates assigned to Trina, as a

cooperating non-individually investigated respondent, be revised in accordance with any

correction to the final weighted-average CVD rates redetermined for Risen and JA Solar in any

further remand redetermination, in accordance with Commerce’s practice.

     Finally, Commerce’s determination to exclude the Descartes data and rely solely on the

Xeneta ocean freight prices to recalculate the ocean freight benchmark is consistent with the

Court’s remand instructions, reasonable and supported by substantial evidence. Trina respectfully

requests that the Court should sustain Commerce’s determination regarding the ocean freight

benchmark. Trina supports and incorporates by reference the comments submitted by JA Solar

and Risen with respect to the ocean freight benchmark determination.


                                             Respectfully submitted,

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                                             Jonathan M. Freed
                                             Kenneth N. Hammer
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                                             (202) 223-3760

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                                             Trina Solar (Changzhou) Science & Technology Co.,
                                             Ltd., Yancheng Trina Guoneng Photovoltaic Technology
                                             Co., Ltd., and Changzhou Trina Solar Yabang Energy
                                             Co., Ltd.

Dated: August 11, 2023




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SHANGHAI BYD CO., LTD., ET AL.,                 )
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                  Plaintiff-Intervenors,         )
                                                )
                  v.                            )
                                                )
UNITED STATES,                                   )
                                                )
                  Defendant.                     )
________________________________________________)

                           CERTIFICATE OF COMPLIANCE
       The undersigned counsel at Trade Pacific PLLC certifies that the Comments on Final
Results of Second Remand Redetermination of Plaintiff-Intervenor Trina, dated August 11,
2023, complies with the word-count limitation stated in Standard Chambers Procedures
¶ 2(B)(1)(b). These comments contain 967 words according to the word-count function of the
software used to prepare the memorandum.
                                          Respectfully submitted,
                                          /s/ Jonathan M. Freed
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Dated: August 11, 2023
